
46 So.3d 1232 (2010)
David B. HUDSON, Appellant,
v.
FLORIDA DEPARTMENT OF REVENUE, o/b/o, Ashley S. ALLEN, Appellee.
No. 1D10-2004.
District Court of Appeal of Florida, First District.
November 17, 2010.
David B. Hudson, pro se, Appellant.
Bill McCollum, Attorney General, and Toni C. Bernstein, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Pursuant to appellee's confession of error, the final order is hereby quashed and the cause is remanded for further proceedings.
WOLF, DAVIS, and WETHERELL, JJ., concur.
